      Case 1:23-cr-00490-SHS       Document 144      Filed 01/16/24    Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
              V.

 ROBERT MENENDEZ, NADINE MENENDEZ,                              23-Cr-490 (SHS)
 WAEL HANA, JOSE URIBE, and FRED DAIBES,                        ORDER
                            Defendants.


SIDNEY H. STEIN, U.S. District Judge.
     On January 13, 2024, counsel for Robert Menendez submitted a letter seeking a one-
week extension of the deadline for all defendants to file suppression motions. (See ECF
No. 127.) On January 15, 2024, the Government submitted a letter expressing that it did
not oppose the extension request, provided that the Government' s deadline to respond
to all defense suppression motions also be extended by one week. (See ECF No. 128.)
     Accordingly, IT IS HEREBY ORDERED that defendants' request to extend the
deadline to file suppression motions-and only suppression motions-by one week is
granted. The updated schedule for suppression motions only is as follows: the deadline
for all defendants' suppression motions is January 22, 2024; the deadline for the
Government to respond to all defense suppression motions is February 12, 2024; and
the deadline for any reply by defendants is February 19, 2024. The pretrial schedule for
all other motions, as set forth in the order dated December 28, 2023, remains
unchanged. (See ECF No. 112.)


Dated: New York, New York
       January 15, 2024

                                          SO ORDERED:




                                            Sidney
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